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                                                                                      ABBE DAVID LOWELL
                                                                                                        Partner
                                                                                                  202-282-5000


                                             March 17, 2023


VIA CM/ECF

Hon. Maryellen Noreika
United States District Judge
District of Delaware
844 N. King Street, Room 4324
Wilmington, Delaware 19801

Re:    Mac Isaac v. Cable News Network, Inc. et al., No. 1:23-cv-00247-MN


Dear Judge Noreika:

        We are counsel to Defendant Robert Hunter Biden in the above-captioned case and, because of the
unusual procedural posture of this matter (e.g., two earlier-served Defendants moved to dismiss in state
court, Plaintiff had issues serving Mr. Biden but then we agreed to accept service for our client, and then
the United States, on behalf of Defendant Adam Schiff, removed the case to this Court and subsequently
moved to dismiss), we write to provide your Honor with a brief status update as it relates to our client.

        This morning, Mr. Biden filed his Answer, Affirmative Defenses, and Counterclaims to Plaintiff’s
Amended Complaint (DE 3, Ex. 52). In addition, pursuant to Fed. R. Civ. P. 26(f), we have engaged with
Plaintiff’s counsel to arrange, as soon as practicable, a date upon which all parties can confer to discuss,
among other topics, the timing and sequence of discovery. We then will promptly provide the Court with
a proposed case schedule for discovery.

       Following that conference, as soon as is practicable under the Rules and the forthcoming discovery
schedule once the parties have an opportunity to confer, Mr. Biden intends to serve Requests for Production
of Documents and his First Set of Interrogatories from Plaintiff John Paul Mac Isaac. In addition, Mr.
Biden has notified counsel for Plaintiff that he intends to seek the deposition of John Paul Mac Isaac as
soon as feasible in this matter, pending a date and time that is agreeable to both parties.

        Lastly, Mr. Biden intends to seek the deposition of several out-of-state witnesses who are relevant
to and/or intimately familiar with the conduct underpinning the claims and counterclaims in this litigation,
and we will move expeditiously under Federal and Local Rules to compel those depositions as necessary.
The list of individuals includes: Keith Ablow; Yaacov Apelbaum; Stephen Bannon; Bradley Birkenfeld;
Robert Costello; Rudolph Giuliani; Richard Mac Isaac; Jack Maxey; Guo Wengui; and Garrett Ziegler.
Mr. Biden reserves his right to request leave of this Court to seek additional depositions as necessary.
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Respectfully,



                                            /s/ Bartholomew J. Dalton
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       Plaintiff Robert Hunter Biden



cc:    All counsel of record (via CM/ECF)
